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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

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  TAYLOR JONES                             *              CASE NO. 6:22-CV-00565
                                           *
                                           *              CHIEF JUDGE S. MAURICE
  VERSUS                                   *              HICKS, JR.
                                           *
                                           *              MAGISTRATE JUDGE CAROL B.
  CITY OF BROUSSARD                        *              WHITEHURST
                                           *
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                                            ORDER

        CONSIDERING THE FOREGOING Joint Stipulation of Dismissal, With Prejudice;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this entire action,

 inclusive of all claims and demands of Plaintiff, Taylor Jones brought in the above-captioned

 action against City of Broussard are hereby dismissed in their entirety, with prejudice, with each

 party to bear its own costs.

        THUS DONE AND SIGNED, this 16th day of May, 2022, at Shreveport, Louisiana.



                                      ___________________________________________
                                             HON. S. MAURICE HICKS, JR.
                                              CHIEF U.S. DISTRICT JUDGE




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